Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 1 of 59 Page ID #:17




                           EXHIBIT A
Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 2 of 59 Page ID #:18
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                     07/12/2022
                                                                                                        CT Log Number 541909224


    Service of Process Transmittal Summary

    TO:     ADAM HAWKES
            The TJX Companies, Inc.
            770 COCHITUATE RD
            FRAMINGHAM, MA 01701-4666

    RE:     Process Served in California

    FOR:    HomeGoods, Inc. (Domestic State: DE)



    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                       Re: ELHAM ASGHARI, an Individual // To: HomeGoods, Inc.

    DOCUMENT(S) SERVED:                    Summons, Complaint, Demand, Cover Sheet(s), Instructions, Addendum and Statement,
                                           First Amended Order, Stipulation(s), Attachment(s), Order
    COURT/AGENCY:                          Los Angeles County - Superior Court - Central District, CA
                                           Case # 22STCV09763
    NATURE OF ACTION:                      Employee Litigation - Wrongful Termination - 02/02/2021

    PROCESS SERVED ON:                     C T Corporation System, GLENDALE, CA

    DATE/METHOD OF SERVICE:                By Process Server on 07/12/2022 at 12:12

    JURISDICTION SERVED:                   California

    APPEARANCE OR ANSWER DUE:              Within 30 days after service

    ATTORNEY(S)/SENDER(S):                 YOLANDA A. SLAUGHTER
                                           LAW OFFICE OF YOLANDA A. SLAUGHTER
                                           633 W. 5th Street, 26th Floor
                                           Los Angeles, CA 90071
                                           (310) 968-4592
    ACTION ITEMS:                          CT has retained the current log, Retain Date: 07/13/2022, Expected Purge Date:
                                           07/18/2022

                                           Image SOP

                                           Email Notification, ADAM HAWKES adam_hawkes@tjx.com

                                           Email Notification, James Evans james_evans@tjx.com

    REGISTERED AGENT CONTACT:              C T Corporation System
                                           330 N BRAND BLVD
                                           STE 700
                                           GLENDALE, CA 91203
                                           800-448-5350
                                           MajorAccountTeam1@wolterskluwer.com




                                                                                                                      Page 1 of 2
Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 3 of 59 Page ID #:19
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                     07/12/2022
                                                                                                        CT Log Number 541909224

    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
    and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
    information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
    included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
    disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
    contained therein.




                                                                                                                          Page 2 of 2
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                                                              ,A Wolters Kluwer
                                                              .4

                         PROCESS SERVER DELIVERY DETAILS




Date:                                     Tue, Jul 12, 2022
Server Name:                              Brandon Yadegar




 Entity Served              HOMEGOODS, INC.

 Case Number                22STCV09763

 J urisdiction              CA



                                              Inserts
Electronically FILED by Superior Court of California, County of Los Angeles on 03/21/2022 01:18 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                    Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 5 of 59 Page ID #:21
                                                    22STCV09763
                                                                                                                                                                      SUM-100
                                                   SUMMONS
                                                                                                                                       FOR COURT USE ONLY
                                         (CITACION JUDICIAL)                                                                        (SOLO PARA USO DE LA CORTE)

    NOTICE TO DEFENDANT: HOMEGOODS INC., a California
   (AVISO AL DEMANDADO): Corporation; and DOES 1 through
    25, Inclusive




    YOU ARE BEING SUED BY PLAINTIFF: ELHAM ASGHARI, an
    (LO ESTA DEMANDANDO EL DEMANDANTE): Individual




      NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
      the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
     (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      iAVISO! Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su versiOn. Lea la informacion a
      continuacion,
        Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
      code y hacer que se entregue una copia at demandante. Una carta o una Ilamada telefonica no to protegen. Su respuesta por escrito tiene que estar
      en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
     Puede encontrar estos formularios de la code y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
      biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida at secretario de la code
      que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
      podra guitar su sueldo, dinero y bienes sin mas advertencia.
        Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
      remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
      programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
     (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
      colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
      cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la code antes de que la code pueda desechar el caso.
     The name and address of the court is:                                                                              CASE NUMBER:
   (El nombre y direcciOn de la code es):                                                                               (NOmero del Caso):

     Los Angeles County Superior Court                                                                                                                      u 1.=3
     111 N. Hill Street
     Los Angeles, CA 90012

    The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
   (El nombre, la direccion y el namero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
    Yolanda A. Slaughter                                                                 310-968-4592
    633 W. 5th Street, 26th Floor
    Los Angeles, CA 90071                                    Sherri P. 1::::artPr e utiv cin lc r Clerk of C:cii_irt
    DATE:       0 2112022                                              Clerk, by                   N. Abiarez                                                        , Deputy
   (Fecha)                                                             (Secretario)                                                                                    (Adjunto)
   (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
   (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
                                     1.      as an individual defendant.
                                     2.      as the person sued under the fictitious name of (specify):

                                              3_ LL] on behalf of (specifY): Homegoods Inc., a California Corporation
                                                   under:    rvi COP 416.10 (corporation)                                         COP 416.60 (minor)
                                                                  COP 416.20 (defunct corporation)                                COP 416.70 (conservatee)
                                                                  COP 416.40 (association or partnership)                         COP 416.90 (authorized person)
                                                                  other (specify):
                                              4.          by personal delivery on (date):                                                                                 Page 1 of 1
      Form Adopted for Mandatory Use
                                                                                   SUMMONS                              Legal                   Code of Civil Procedure §§ 412.20, 465
        Judicial Council of California
       SUM-100 [Rev. July 1, 2009]
                                                                                                                      Solutions
                                                                                                                        A nus
Electronically FILE    y Superior Court of California, County of Los Angeles on 03/21/2022 01:18 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy lerk
                      Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 6 of 59 Page ID #:22
                                                      22S1CV09763
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Teresa Beaudet




                       YOLANDA A. SLAUGHTER(SBN 202610)
                       LAW OFFICE OF YOLANDA A. SLAUGHTER
                2      633 W.5th Street, 26t11 Floor
                3      Los Angeles, CA 90071
                       Tel: (310)968-4592
               4       E-mail: yslaughterlaw@aol.com

                5      Attorneys for Plaintiff ELHAM ASGHARI
               6                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                7                                           FOR THE COUNTY OF LOS ANGELES
                8      ELHAM ASGHARI, an Individual;                                           CASE NO.                   22STCV09763

               9                             Plaintiff,                                        COMPLAINT FOR:
              10
                                  V.                                                            1. AGE DISCRIMINATION;
              11                                                                                2. DISABILITY DISCRIMINATION;
                       HOMEGOODS INC., a California                                             3. FAILURE TO ACCOMMODATE
              12       Corporation; and DOES 1 through 25,                                         DISABILITY;
                       Inclusive,                                                               4. FAILURE TO ENGAGE IN
              13                                                                                   INTERACTIVE PROCESS
              14                              Defendants.                                          REGARDING DISABILITY;
                                                                                                5. FAILURE TO PREVENT
              15                                                                                   DISCRIMINATION;
                                                                                                6. FAILURE TO CORRECT AND
              16                                                                                   REMEDY DISCRIMINATION;
                                                                                                7. WRONGFUL TERMINATION;
              17
                                                                                                8. INTENTIONAL INFLICTION OF
              18                                                                                  EMOTIONAL DISTRESS; AND
                                                                                                9.NEGLIGENCE(NEGLIGENT
              19                                                                                  INFLICTION OF EMOTIONAL
                                                                                                  DISTRESS
             20
             21                                                                               DEMAND FOR JURY TRIAL

             22

             23
             24

              25
              26

              27
             28

                                                                                          1
                                                                                      COMPLAINT
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 1           Plaintiff ELHAM ASGHARI, by and through her counsel, claims and alleges as
 2 follows:
 3                                             PARTIES

4            1.     Plaintiff ELHAM ASGHARI (hereinafter "Plaintiff"), a 44 year old woman,
      resided in the County of Los Angeles, State of California, at all times relevant.
 5
             2.     Plaintiff is informed, believes and thereupon alleges that Defendant
6
      HOMEGOODS,INC.(hereinafter "Defendant") which has its principal place of business
 7
      in the County of Los Angeles, State of California, a California Corporation, doing
 8
      substantial business in the County of Los Angeles, State of California and was Plaintiffs
9
      employer at all times relevant herein.
10
            3.      Plaintiff is ignorant of the true names and capacities—whether individual,
11
      corporate, associate or other—of the Defendants sued herein under fictitious names
12
      Does 1 through 25 inclusive, and for that reason sues each of the said Defendants by
13
      such fictitious names. Plaintiff is informed, believes and thereupon alleges that each of
14
      the Defendants, Does 1 through 25 inclusive, is and was in some manner responsible for,
15
      participated in or contributed to the matters and things of which Plaintiff complains
16
      herein; thus, the Defendants have some legal responsibility. When Plaintiff ascertains
17
      the names and capacities of the fictitiously named Defendants Does 1 though 25
18
      inclusive, Plaintiff will seek leave to amend this Complaint to set forth such facts.
19
             4.     Plaintiff is informed, believes and thereupon alleges that each Defendant
20
      is, and at all times relevant herein was, the agent of his, her or its co-defendants.
21
      Moreover, in committing the acts alleged herein, each Defendant was acting within the
22
      scope of his, her or its authority as such agent, with the knowledge, permission, and
23
      consent of his, her or its co-defendants.
24
                                    GENERAL ALLEGATIONS
25
             5.     By this reference, Plaintiff alleges and incorporates herein each and every
26
      allegation set forth in all previous paragraphs of the Complaint.
27
             6.     Plaintiff was hired by Defendants in or about 2018. Plaintiff was a floor
28

                                                   2
                                               COMPLAINT
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 1    assistant whose job duties and responsibilities included assisting store customers,
 2    stocking and re-stocking merchandise in the store, ensuring and maintaining a clean
 3    and tidy work area, assisting customers with loading purchased items, and loading and
4     unloading goods. Plaintiff enjoyed her job until the discriminatory and harassing events
 5    discussed below occurred. At all relevant times, Plaintiff performed her job duties
6     satisfactorily and competently and without incident.
 7
            9.      Throughout Plaintiffs employment with Defendants she began to develop
 8
      pain to her wrists, elbows, hands and shoulders. Plaintiff discussed this pain with
9
      Defendants, but was told that she was getting too old for the job and should quit if she
10
      could not handle the job duties and responsibilities. Needing the job to survive, Plaintiff
11
      continued with her job duties and responsibilities and worked with pain. In mid-July
12
      2020, Plaintiffs doctors took her off work for 10 days due to pain and complications to
13

14    her wrists, elbows, hands and shoulders. Plaintiffs doctors advised that she perform job

15    duties that did not require heavy lifting. Plaintiff provided the doctor's note to
16    Defendant. However,the medical recommendation that Plaintiff perform duties
17    without heavy lifting was ignored by Defendant.
18           10.    Plaintiff was injured on the job after lifting heavy boxes and reported the
19    incident in mid-January 2021. Plaintiff was forced to take a 1 week leave of absence to
20
      recover from the injury. When Plaintiff returned from the 1 week leave of absence,she
21
      was terminated and told she was too old for the job.
22
             11.    Despite Plaintiffs 3+ years of dedicated employment with Defendant,
23
      Plaintiff was terminated on February 2, 2021 after taking a one(1) week medical leave of
24
      absence
25

26
             12.    In light of the above conduct by Defendant, Plaintiff has suffered and

27    continues to suffer lost wages and benefits, and continues to suffer from severe

28    emotional distress.

                                                 3
                                             COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 9 of 59 Page ID #:25




 1
             13.    Plaintiff timely filed a complaint of discrimination, harassment and
 2
      retaliation with the California Department of Fair Employment and Housing(DFEH)
 3
      and received his Right to Sue Notice.
4
 5
                                    FIRST CAUSE OF ACTION
 6                                   AGE DISCRIMINATION
 7           1.4    Plaintiff alleges and incorporates by this reference herein each and every
 8    allegation set forth in all previous paragraphs of the Complaint as if fully set forth

 9    herein.

10           15.    Plaintiff was at all times hereto an "employee" within the meaning of

11    California Government Code § 12926(c) and California Government Code § 12940(a)

12    and (c), which prohibit age discrimination in employment.

13           18. Defendant Homegoods,Inc. was at all material times an "employer" as

14    defined by California Government Code § 12926(d) and within the meaning of California

15    Government Code § 12940(a) and (c) and, as such, was barred from discriminating or

16    retaliating in employment decisions on the basis of age as set forth in California

17    Government Code § 12940. Defendant employed 5 or more employees at all times

18    during Plaintiffs employment.

19           16. Defendant Homegoods,Inc. has discriminated against Plaintiff on the basis

20    of age, in violation of California Government Code § 12940(a) and (c), Article I of the

21    California Constitution and related statutes by engaging in the course of conduct more

22    fully set forth in the General Allegations stated above.

23           17.    The discriminatory practices as alleged in the General Allegations set forth

24    above toward Plaintiff were approved and ratified by Defendant's management.
             18.    As a result of Defendant's unlawful discrimination against Plaintiff,
25
      Plaintiff has suffered and continues to suffer (a) substantial humiliation, serious mental
26
      anguish, and emotional and physical distress; and (b) loss of past and future earnings,
27
      and employment benefits and opportunities, all on account of which Plaintiff is entitled
28

                                                  4
                                              COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 10 of 59 Page ID #:26




 1    to compensatory damages. The exact amount and nature of such damages exceeds the
 2 jurisdictional limits of this court, but are presently unknown to Plaintiff, who will either
 3    seek leave to amend this Complaint upon ascertaining such information, or prove the
4 same at the time of trial.
 5           19.    As more fully set forth above, the age discrimination by Defendant was
6     committed intentionally, maliciously, wantonly, oppressively, and fraudulently with a
 7 conscious disregard for Plaintiffs rights and with the intent to vex, injure, punish, and
 8     annoy Plaintiff so as to cause the injuries sustained by Plaintiff, which acts amounted to

9      oppression, fraud, and malice, as described in California Civil Code § 3294. Plaintiff is

10 therefore entitled to punitive or exemplary damages in an amount sufficient to punish
11     and make an example out of Defendant.

12                                SECOND CAUSE OF ACTION

13                              DISABILITY DISCRIMINATION
                         AGAINST DEFENDANT HOMEGOODS,INC.
14
             20.Plaintiff alleges and incorporates by this reference herein each and every
15
       allegation set forth in all previous paragraphs of the Complaint as if fully set forth
16
       herein.
17
             21.    Plaintiff was at all times hereto an "employee" as defined by California
18
       Government Code §§ 12926(c) and 12940(h) (3) (A) and within the meaning of
19
       California Government Code §§ 12940(a) and (c), which prohibit disability
20
       discrimination in employment. Disability discrimination, within the meaning of those
21
      sections, includes harassment and failure to take all reasonable steps necessary to
22
       prevent discrimination or harassment on the basis of disability.
23           22.    Defendants were at all material times an "employer" as defined by
24     California Government Code §§ 12926(d) and 12940(h)(3)(A) and within the meaning of
25     California Government Code §§ 12940(a) and (c); as such, Defendants are barred from
26     discriminating or retaliating in employment decisions on the basis of disability as set
27 forth in California Government Code § 12940. Defendant employed 5 or more
28

                                                 5
                                             COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 11 of 59 Page ID #:27




 1     employees at all time throughout Plaintiffs employment with Defendant.
 2            23.    Defendants have discriminated against Plaintiff on the basis of disability,
 3     which, by engaging in the course of conduct more fully set forth in the General
 4 Allegations stated above, violated the California Government Code §§ 12940(a) and (c),
 5     as well as related statutes.
 6            24.    The discriminatory practices alleged in the General Allegations set forth
 7     above towards Plaintiff were approved and ratified by Defendant HOMEGOODS,INC.
 8     and its management.

 9            25.    As a result of Defendants' discrimination against Plaintiff, Plaintiff has

10 suffered and continues to suffer from (a) substantial humiliation, serious mental
11     anguish, emotional and physical distress as well as (b)loss of past and future earnings,

12 employment benefits and opportunities, all of which Plaintiff is entitled to as
13 compensatory damages. The exact amount and nature of such damages exceed the
14 jurisdictional limits of this court, but are presently unknown to Plaintiff who will either
15    seek leave to amend this Complaint upon ascertaining such information or will prove

16 the same at the time oftrial.
17       26. As more fully set forth above,the disability discrimination exerted by

18     Defendant HOMEGOODS, INC. was done intentionally, maliciously, wantonly,

19     oppressively and fraudulently with a conscious disregard for Plaintiffs rights, the intent

20 to vex, injure, punish and annoy Plaintiff so as to cause the injuries sustained by
21 Plaintiff, within the meaning of California Civil Code § 3294. Plaintiff is therefore
22 entitled to punitive or exemplary damages in an amount sufficient to punish and make
   an example out of Defendant.
23
                                  THIRD CAUSE OF ACTION
24
                      FAILURE TO ACCOMMODATE DISABILITY
25
                      AGAINST DEFENDANT HOMEGOODS,INC.
26
             27. Plaintiff re-alleges and incorporates herein by this reference each and
27 every allegation set forth in all previous paragraphs ofthe Complaint.
28

                                                 6
                                             COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 12 of 59 Page ID #:28




 1            28.    Defendants HOMEGOODS,INC. failed to take all necessary steps to offer
 2     reasonable accommodations to Plaintiff and failed to take immediate and appropriate
 3     action to provide Plaintiff with proper accommodations, thus violating California

4      Government Code § 12940 (I), by engaging in the course of conduct set forth in the

 5     General Allegations stated above, among other things.

 6            29.    Specifically, Defendants HOMEGOODS, INC. refused to acknowledge

 7     Plaintiffs disability by failing to provide Plaintiff with a reasonable accommodation, but

 8     instead terminating her employment.

 9           3o.     Defendants HOMEGOODS, INC. failed to take any adequate action to

10     rectify its mistakes, including retaliatory termination, as well as to offer or provide

11     adequate accommodations to Plaintiff, taking into consideration their express

12     knowledge of her disabling medical conditions.

13           31.     As a proximate result of Defendant HOMEGOODS, INC.'s failure to

14     accommodate Plaintiffs known disability, Plaintiff has suffered (a) humiliation, serious

15     mental anguish, and emotional and physical distress; and (b) loss of past and future

16     earnings, and employment benefits and opportunities; all on account of which Plaintiff

17     is entitled to compensatory damages. The amount and nature of such damages exceed

18    the jurisdictional limits of this court, but are presently unknown to Plaintiff, who will

19     either seek leave to amend this Complaint upon ascertaining such information, or will

20     prove the same at the time of trial.
             32.     As more fully set forth above, the failure by Defendant HOMEGOODS,
21
22     INC. to accommodate Plaintiffs known disability were committed intentionally,
       maliciously, wantonly, oppressively, and fraudulently with a conscious disregard of
23
       Plaintiffs rights and with the intent to vex, injure, punish, and annoy Plaintiff so as to
24
       cause the injuries sustained by Plaintiff. Such acts amounted to oppression, fraud, and
25
       malice, as described in California Civil Code § 3294. Plaintiff is therefore entitled to
26
       punitive or exemplary damages in an amount sufficient to punish and make an example
27
       out of Defendant.
28

                                                  7
                                              COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 13 of 59 Page ID #:29




 1                                FOURTH CAUSE OF ACTION
 2              FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS OF

 3                       ACCOMODATION OF DISABILITY AGAINST
                                DEFENDANT HOMEGOODS,INC.
 4
             33.     Plaintiff re-alleges and incorporates herein by this reference each and
 5
       every allegation set forth in all previous paragraphs ofthe Complaint.
 6           34.    Plaintiff was at all times hereto an "employee" within the meaning of
 7     California Government Code §12926(c) and California Government Code §§1294o(a)
 8     and (c), which prohibit disability harassment/discrimination in employment.
 9           35.    Defendants HOMEGOODS,INC. was at all material times an "employer"
10     within the meaning of California Government Code §12926(d) and California
11     Government Code §§ 12940(a) and (c) and, as such, was barred from
12     harassment/discrimination of Plaintiff on the basis of disability, perceived disability, or
13     medical condition possessed or thought to be possessed by an employee, as set forth in
14 California Government Code §12940.
15           36.    At the time of Plaintiffs employment with Defendants, she suffered from a
16     debilitating and disabling wrists, elbows, hands and shoulder condition that limited her
17     work activities, as set forth in the General Allegations and all paragraphs stated above,
18     among other things.
19           37.     Despite having notice of Plaintiffs condition, and notice of Plaintiffs
20 request for a reasonable accommodation, Defendants HOMEGOODS, INC. failed to
21    engage in a timely, good faith, interactive process with Plaintiff to determine effective
22 reasonable accommodations in violation of California Government Code §12940(n).
23           38.    As a result of Defendants' failure to engage in the interactive process of
24     accommodation of her known disabilities, Plaintiff has suffered and continues to suffer
25 (a) substantial humiliation, serious mental anguish, and emotional and physical
26     distress; and (b) loss of past and future earnings, and employment benefits and
27     opportunities, on account of which Plaintiff is entitled to compensatory damages. The
28     exact amount and nature of such damages exceed the jurisdictional limits of this court,

                                                 8
                                             COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 14 of 59 Page ID #:30




 1     but are presently unknown to Plaintiff, who will either seek leave to amend this
2      Complaint upon ascertaining such information, or will prove the same at the time of
 3    trial.
4               39.     As more fully set forth above, Defendants' failure to engage in the

5     interactive process to accommodate Plaintiffs known disabilities was committed

6 intentionally, maliciously, wantonly, oppressively, and fraudulently with a conscious
7      disregard for Plaintiffs rights and with the intent to vex, injure, punish, and annoy

8     Plaintiff so as to cause the injuries sustained by Plaintiff. Such acts amounted to

9      oppression, fraud, and malice, as described in California Civil Code § 3294. Plaintiff is

10 therefore entitled to punitive or exemplary damages in an amount sufficient to punish
11     and make an example out of Defendant.

12                                      FIFTH CAUSE OF ACTION
               FAILURE TO PREVENT DISCRIMINATION AGAINST DEFENDANT
13
                                            HOMEGOODS,INC.
14
               40.       Plaintiff alleges and incorporates herein by this reference each and every
15
       allegation set forth in all previous paragraphs of the Complaint as if fully set forth
16
       herein.
17
                41.      Defendants HOMEGOODS, INC.           failed to take all reasonable steps to
18
                      prevent
19
      the discrimination against Plaintiff from occurring, in violation of California
20
       Government Code § 12940(k), by engaging in the course of conduct set forth in the
21
       General Allegations and all paragraphs stated above,among other things.
22
                42.      Specifically, Defendants HOMEGOODS, INC.               failed to take any
23
                      meaningful
24
       preventative action against those managers, supervisors, and employees who were
25
      enabling others to discriminate against Plaintiff. If the Defendants have a written policy
26
       addressing the issue of disability harassment and discrimination, the policy is not
27
      enforced and is consistently disregarded.
28

                                                     9
                                                 COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 15 of 59 Page ID #:31




 1            43.    As a result of Defendants HOMEGOODS, INC. 's failure to prevent the
 2                 unlawful
 3     discrimination against Plaintiff, Plaintiff has suffered and continue to suffer substantial
4 (a) humiliation, serious mental anguish and emotional and physical distress; and (b)
 5    loss of past and future earnings, and employment benefits and opportunities, on

6      account of which Plaintiff is entitled to compensatory damages, the exact amount and

 7     nature of which exceeds the jurisdictional limits of this court but is presently unknown

 8    to Plaintiff, who will either seek leave to amend this complaint upon ascertaining such

9      information, or will prove the same at the time of trial.

10           44.     As more fully set forth above, Defendants HOMEGOODS,INC.'S failure to

11     prevent the unlawful discrimination and harassment was intentional, malicious,

12     wanton, oppressive, and fraudulent, with conscious disregard of Plaintiffs rights and

13     with the intent to vex, injure, punish, and annoy Plaintiff so as to cause the injuries

14    sustained by Plaintiff, within the meaning of California Civil Code § 3294. Plaintiff is

15    therefore entitled to punitive or exemplary damages in an amount sufficient to punish

16     and make an example out of Defendant.

17                                   SIXTH CAUSE OF ACTION
           FAILURE TO CORRECT AND REMEDY DISCRIMINATION AGAINST
18
                                DEFENDANT HOMEGOODS,INC.
19
             45.      Plaintiff alleges and incorporates herein by this reference each and every
20
       allegation set forth in all previous paragraphs of the Complaint.
21
             46.      Defendants HOMEGOODS,INC. failed to take all reasonable steps to
22
       prevent the discrimination against Plaintiff from occurring, in violation of California
23
       Government Code § 12940(k), by engaging in the course of conduct set forth in the
24
       General Allegations and all paragraphs stated above, among other things.
25
             47.      Specifically, Defendants HOMEGOODS,INC. failed to take any
26
       meaningful preventative action against those managers, supervisors, and employees
27
       who were harassing Plaintiff or enabling others to discriminate against and harass
28

                                                  10
                                              COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 16 of 59 Page ID #:32




 1     Plaintiff. If the Defendants have a written policy addressing the issue of disability
 2     harassment and discrimination, the policy is not enforced and is consistently
 3     disregarded.
4               48.      As a result of Defendants HOMEGOODS,INC.'s failure to prevent the
 5     unlawful discrimination against and harassment of Plaintiff, Plaintiff has suffered and
6     continue to suffer substantial (a) humiliation, serious mental anguish and emotional
 7     and physical distress; and (b)loss of past and future earnings, and employment benefits
 8     and opportunities, on account of which Plaintiff is entitled to compensatory damages,

9     the exact amount and nature of which exceeds the jurisdictional limits of this court but

10    is presently unknown to Plaintiff, who will either seek leave to amend this complaint

11     upon ascertaining such information, or will prove the same at the time of trial.

12              49.      As more fully set forth above, Defendants HOMEGOODS INC.'s failure to

13     prevent the unlawful discrimination and harassment was intentional, malicious,

14     wanton, oppressive, and fraudulent, with conscious disregard of Plaintiffs rights and

15     with the intent to vex, injure, punish, and annoy Plaintiff so as to cause the injuries

16    sustained by Plaintiff, within the meaning of California Civil Code § 3294. Plaintiff is

17    therefore entitled to punitive or exemplary damages in an amount sufficient to punish

18     and make an example out of Defendant.

19                                         SEVENTH CAUSE OF ACTION
               WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
20
                                               AGAINST DEFENDANTS
21
                50.      Plaintiff alleges and incorporates herein by this reference each and every
22
       allegation set forth in all previous paragraphs of the Complaint.
23
                51.       Asaresult ofPlaintiff's age,disability/disabling wiz&related bodily injury,Defendants wrongfully
24
       terminated her employment in violation of California Government Code § 12940 et seq. Defendants wrongfully
25
       tenninated Plaintiff's employmentas setforth more fully in the General Allegations above,thus violating the public
26

27

28


                                                              11
                                                          COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 17 of 59 Page ID #:33




 1     policy delineated in the California Government Code § 12940 et seq. The aforementioned acts ofDefendants constitute

 2     wrongfultermination in violation ofpublic policy.
 3
                52.      As a proximate result of the aforementioned acts, Plaintiff has suffered lost wages
4
       and benefits, embarrassment, anxiety, humiliation, serious mental anguish, emotional and
 5
       physical distress.       Plaintiff will continue to suffer damages in a sum that exceeds the
6
      jurisdictional limits of this court, but is yet to be ascertained. Plaintiff will either seek leave to
 7
       amend this Complaint upon ascertaining such information or will prove the same at the time of
 8
       trial.
9
                53.      As more fully set forth above, the acts of Defendants were intentional, malicious,
10
       wanton, oppressive and fraudulent, with a conscious disregard for Plaintiff's rights, the intent to
11
       vex, injure, punish and annoy Plaintiff so as to cause the injuries sustained by Plaintiff, within
12
       the meaning of California Civil Code § 3294. Plaintiff is therefore entitled to punitive or
13
       exemplary damages in an amount sufficient to punish and make an example out of Defendants.
14
                                             EIGHTH CAUSE OF ACTION
15                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
16                                 AGAINST DEFENDANT HOMEGOODS INC.
17              54.      Plaintiff alleges and incorporates herein by this reference each and every

18     allegation set forth in all previous paragraphs of the Complaint.

19              55.      Defendants engaged in age discrimination, disability discrimination,

20     retaliation and wrongful termination against Plaintiff, as well as aided and abetted each
21     other in engaging in illegal discrimination, thereby subjecting Plaintiff to the intentional
22     infliction of emotional distress caused by such discrimination and harassment, which
23     violated the California Government Code § 12940, and related statutes as set forth above
24     in the General Allegations.

25              56.      Defendants HOMEGOODS,INC.failed to take immediate and appropriate
26     remedial action to respond to Plaintiffs requests for accommodations.                                   Instead,

27     Defendants retaliated against Plaintiff by unjustifiably terminating her employment, as

28    set forth in the General Allegations.

                                                               12
                                                           COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 18 of 59 Page ID #:34




 1            57.    The acts of Defendants as described herein were extreme, outrageous and
 2     represent an abuse of the authority and position of each of the Defendants. Such
 3    improper conduct was intended to cause severe emotional distress or was done with a
 4 conscious disregard for the probability of causing such distress. Such conduct exceeded
 5    the inherent risks of employment and was not the sort of conduct suitable to a
 6     workplace. Defendants and its employees, the individual Defendants named above,
 7     abused their positions of authority toward Plaintiff, and engaged in conduct intended to

 8     humiliate Plaintiff and convey the message that he was powerless and couldn't defend

 9     his rights.

10            58.    As a proximate result of the aforementioned acts, Plaintiff has suffered lost

11     wages and lost benefits, embarrassment, anxiety, humiliation, serious mental anguish,

12    emotional and physical distress. Plaintiff will continue to suffer damages in a sum that

13    exceeds the jurisdictional limits of this court, but is yet to be ascertained. Plaintiff will

14 either seek leave to amend this Complaint upon ascertaining such information or will
15     prove the same at the time of trial.

16            59.    As more fully set forth above, the acts of Defendants were intentional,

17     malicious, wanton, oppressive and fraudulent, with a conscious disregard for Plaintiffs

18     rights, the intent to vex, injure, punish and annoy Plaintiff so as to cause the injuries

19 sustained by Plaintiff, within the meaning of California Civil Code § 3294. Plaintiff is
20 therefore entitled to punitive or exemplary damages in an amount sufficient to punish
21     and make an example out of Defendants.

22                                  NINTH CAUSE OF ACTION
                     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
23
                          AGAINST DEFENDANT HOMEGOODS INC.
24
              6o.Each of the above paragraphs contained in this Complaint is hereby
25
      incorporated by reference at this point as if set forth herein full at length.
26
              61.    In carrying out the above conduct, Defendants, and their employees and
27
28     agents, breached the duty owed to Plaintiff to provide a workplace free from


                                                  13
                                              COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 19 of 59 Page ID #:35




 1     discrimination, and retaliation, and abused their positions of authority towards her.
 2    Said conduct exceeded the inherent risks of employment and was not the sort of conduct
 3
       normally expected to occur in the workplace.
4
             62.     Defendants, and their employees and agents knew, or should have known
 5
      that the above conduct would cause Plaintiff serious emotional distress. As a proximate
6
 7     result of Defendants negligent conduct, Plaintiff suffered and will continue to suffer lost

 8     wages and lost benefits, extreme humiliation, embarrassment, anxiety, mental anguish,
9      and emotional distress in an amount according to proof.
10
                                       PRAYER FOR RELIEF
11
              WHEREFORE, Plaintiff prays for judgment against each of the Defendants as
12
      follows:
13
              1. For such general, special and compensatory, actual and liquidated damages in
14
                 amounts to be proven at the time of trial;
15
             2. For punitive and exemplary damages in amounts to be proven at the time of
16
                 trial;
17
             3. For reasonable attorneys'fees under California Government Code
18
                 5ecti0n12965(b), and all related statutes, including California Code of Civil
19
                 Procedure § 1021;
20
             4. For costs of the suit incurred herein;
21
             5. For pre- and post-judgment interest at the prevailing statutory rates; and
22
             6. For such other relief as the Court may deem proper.
23
24
25
26
27
28

                                                 14
                                             COMPLAINT
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 20 of 59 Page ID #:36




 1                               DEMAND FOR JURY TRIAL

2           Plaintiff hereby demands a jury trial for the causes of action set forth above.
 3

4      Dated: March 6, 2022             LAW OFFICE OF YOLANDA A. SLAUGHTER
 5

6                                         h z        z-4.
                                     By:
 7                                     Y LANDA A. SLAUGHTER,ESQ.
                                       Attorney for Plaintiff ELHAM ASGHARI
 8

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                                            COMPLAINT
Electronically FILED by Superior Court of California, County of Los Angeles on 03/21/2022 01:18 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                   Case 2:22-cv-05660-RGK-AS Document                                     1-1 Filed 08/10/22 Page 21 of 59 Page ID #:37
                                                                                       22STCV09763
                                                                                                                                                                             CM-01
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
     --Yolanda A. Slaughter (SBN 202610)
       Law Office of Yolanda A. Slaughter
       633 W. 5th Street, 26th Floor
       Los Angeles, CA 90071

               TELEPHONE NO.:       310-968-4592                    FAX NO.:
        ATTORNEY FOR (Name):  Plaintiff ELHAM ASGHARI
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
           STREET ADDRESS: 1 11 N. HILL STREET
           MAILING ADDRESS: 1 11 N. HILL STREET
          CITY AND ZIP CODE: LOS ANGELES, CA 90012
              BRANCH NAME: CENTRAL
        CASE NAME:        Elham Asghari v. Homegoods, Inc.

                                                       Complex Case Designation               CASE NUMBER:
            CIVIL CASE COVER SHEET
        X  Unlimited         Limited                        Counter            Joinder               22S-1- CV09763
          (Amount           (Amount                 Filed with first appearance by defendant JUDGE:
           demanded          demanded is
          exceeds $25,000) $25,000 or less)            (Cal. Rules of Court, rule 3.402)      DEPT:

                                     Items 1-6 below must be completed (see instructions on page 2).
      1 Check one box below for the case type that best describes this case:
            Auto Tort                                               Contract                                           Provisionally Complex Civil Litigation
                 Auto (22)                                               Breach of contract/warranty (06)              (Cal. Rules of Court, rules 3.400-3.403)
                  Uninsured motorist (46)                                  Rule 3.740 collections (09)                        Antitrust/Trade regulation (03)
            Other Pl/PD/WD (Personal Injury/Property                      Other collections (09)                              Construction defect(10)
            Damage/Wrongful Death)Tort                                                                                        Mass tort(40)
                                                                          Insurance coverage (18)
                  Asbestos (04)                                           Other contract (37)                                 Securities litigation (28)
                  Product liability (24)                            Real Property                                             Environmental/Toxic tort(30)
                 Medical malpractice (45)                                 Eminent domain/Inverse                              Insurance coverage claims arising from the
                 Other PI/PD/WD (23)                                      condemnation (14)                                   above listed provisionally complex case
            Non-Pl/PD/VVD (Other) Tort                                     Wrongful eviction (33)                             types (41)

                  Business tort/unfair business practice (07)              Other real property (26)                    Enforcement of Judgment
                  Civil rights (08)                                 Unlawful Detainer                                       Enforcement of judgment(20)
                  Defamation (13)                                          Commercial (31)                             Miscellaneous Civil Complaint
                  Fraud (16)                                               Residential (32)                                   RICO (27)
                  I ntellectual property (19)                              Drugs (38)                                         Other complaint (not specified above)(42)
                  Professional negligence (25)                      Judicial Review                                    MisceIlaneous Civil Petition
                Other non-PI/PD/WD tort(35)                                Asset forfeiture (05)                              Partnership and corporate governance (21)
            Employment                                                     Petition re: arbitration award (11)                Other petition (not specified above)(43)
                Wrongful termination (36)                                  Writ of mandate (02)
                  Other employment(15)                                     Other judicial review (39)
      2. This case           is          is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
         factors requiring exceptional judicial management:
         a.        Large number of separately represented parties d.           Large number of witnesses
         b.        Extensive motion practice raising difficult or novel e.     Coordination with related actions pending in one or more courts
                   issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
         c.        Substantial amount of documentary evidence           f.     Substantial postjudgment judicial supervision
      3. Remedies sought (check all that apply): a.          monetary b.      nonmonetary; declaratory or injunctive relief c. x punitive
      4. Number of causes of action (specify): 9
      5. This case          is    x is not a class action suit.
      6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
      Date: March 6, 2022
                                                                                              Blet.4tda4. :Sgair/Z6A,
      Yolanda A. Slaughter (SBN 202610)
                                        (TYPE OR PRINT NAME)                                                        GNATURE OF PARTY OR ATTORNEY FOR ARTY)

                                                                                      NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
         in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
         other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                             Page 1 of 2
     Form Adopted for Mandatory Use
       Judicial Council of California
                                                                      CIVIL CASE COVER SHEET                        Legal      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                                                                                                       Cal. Standards of Judicial Administration, std. 3.10
                                                                                                                30111001.1S
        CM-010[Rev. July 1,2007]
                                                                                                                        Plus
              Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 22 of 59 Page ID #:38
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                      CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
i n a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property                Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
   U ninsured Motorist (46)(if the                           Contract (not unlawful detainer            Construction Defect (10)
         case involves an uninsured                              or wrongful eviction)
                                                                                                        Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach—Seller
                                                                                                        Securities Litigation (28)
                                                             Plaintiff (not fraud or negligence)
         arbitration, check this item                                                                   Environmental/Toxic Tort (30)
                                                         Negligent Breach of Contract/
         instead of Auto)                                    Warranty                                    I nsurance Coverage Claims
Other PUPD/WD (Personal Injury/                          Other Breach of Contract/Warranty                   (arising from provisionally complex
Property Damage/Wrongful Death)                      Collections (e.g., money owed, open                      case type listed above)(41)
Tort                                                     book accounts)(09)                        Enforcement of Judgment
   Asbestos (04)                                         Collection Case—Seller Plaintiff
         Asbestos Property Damage                                                                       Enforcement of Judgment (20)
                                                         Other Promissory Note/Collections
         Asbestos Personal Injury/                                                                            Abstract of Judgment (Out of
                                                                 Case
               Wrongful Death                        I nsurance Coverage (not provisionally                        County)
   Product Liability (not asbestos or                    complex)(18)                                         Confession of Judgment (non-
         toxic/environmental)(24)                        Auto Subrogation                                          domestic relations)
   Medical Malpractice (45)                              Other Coverage                                      Sister State Judgment
         Medical Malpractice—                        Other Contract (37)                                      Administrative Agency Award
               Physicians & Surgeons                     Contractual Fraud                                        (not unpaid taxes)
         Other Professional Health Care                  Other Contract Dispute                               Petition/Certification of Entry of
               Malpractice                       Real Property                                                     J udgment on Unpaid Taxes
   Other PI/PD/WD (23)                               Eminent Domain/Inverse                                   Other Enforcement of Judgment
         Premises Liability (e.g., slip                  Condemnation (14)                                         Case
               and fall)                             Wrongful Eviction (33)                        M iscellaneous Civil Complaint
                                                     Other Real Property (e.g., quiet title)(26)        RICO (27)
         I ntentional Bodily Injury/PD/WD
                                                         W rit of Possession of Real Property           Other Complaint (not specified
              (e.g., assault, vandalism)
                                                         Mortgage Foreclosure                                 above)(42)
         I ntentional Infliction of                      Quiet Title
               Emotional Distress                                                                             Declaratory Relief Only
                                                         Other Real Property (not eminent                     I njunctive Relief Only (non-
         Negligent Infliction of                         domain, landlord/tenant, or
               Emotional Distress                                                                                  harassment)
                                                         foreclosure)
         Other PI/PD/WD                                                                                       Mechanics Lien
                                                 U nlawful Detainer
                                                                                                              Other Commercial Complaint
Non-PI/PO/WO (Other) Tort                            Commercial (31)
                                                                                                                   Case (non-tort/non-complex)
   Business Tort/Unfair Business                     Residential (32)
                                                                                                              Other Civil Complaint
         Practice (07)                               Drugs (38)(if the case involves illegal                      (non-tort/non-complex)
   Civil Rights (e.g., discrimination,                   drugs, check this item; otherwise,
         false arrest)(not civil                                                                   M iscellaneous Civil Petition
                                                         report as Commercial or Residential)           Partnership and Corporate
         harassment)(08)                         J udicial Review                                             Governance (21)
   Defamation (e.g., slander, libel)                 Asset Forfeiture (05)
                                                                                                        Other Petition (not specified
        (13)                                         Petition Re: Arbitration Award (11)
                                                                                                              above)(43)
   Fraud (16)                                        W rit of Mandate (02)
                                                                                                              Civil Harassment
   I ntellectual Property (19)                           W rit—Administrative Mandamus
                                                                                                              Workplace Violence
   Professional Negligence (25)                          W rit—Mandamus on Limited Court
                                                                                                              Elder/Dependent Adult
         Legal Malpractice                                  Case Matter
                                                                                                                   Abuse
         Other Professional Malpractice                  W rit—Other Limited Court Case
                                                                                                              Election Contest
              (not medical or legal)                        Review
                                                                                                              Petition for Name Change
   Other Non-PI/PD/WD Tort (35)                      Other Judicial Review (39)
                                                                                                              Petition for Relief from Late
Employment                                               Review of Health Officer Order
                                                                                                                   Claim
   Wrongful Termination (36)                             Notice of Appeal—Labor
                                                                                                              Other Civil Petition
   Other Employment (15)                                    Commissioner Appeals
CM-010 [Rev. July 1. 2007]
                                                        CIVIL CASE COVER SHEET                                                            Page 2 of 2
          Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 23 of 59 Page ID #:39
 SHORT TITLE                                                                                           CASE NUMBER
               Elhann Asghari v. Honnegoods, Inc.



                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mask Courthouse, Central District.       7. Location where petitioner resides.
2. Permissive filing in central district.                                             8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                10. Location of Labor Commissioner Office.
                                                                                     11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                          B                                                       C
                     Civil Case Cover Sheet                                          Type of Action                                      Applicable Reasons -
                           Category No.                                             (Check only one)                                      See Step 3 Above

                             Auto (22)              0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11

                     U ninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11
                                                                                                                                                                1

                                                    0 A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos (04)
                                                    0 A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11

                       Product Liability (24)       0 A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11


                                                    0 A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                     Medical Malpractice (45)
                                                    0 A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                    0 A7250 Premises Liability (e.g., slip and fall)
                         Other Personal
                         I njury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                         1, 4, 11
                        Damage Wrongful                     assault, vandalism, etc.)
                            Death (23)                                                                                                   1, 4, 11
                                                    0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                         1, 4, 11
                                                    0 A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                   CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3

   For Mandatory Use
                                                      AND STATEMENT OF LOCATION                                                          Page 1 of 4
                         Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 24 of 59 Page ID #:40
SHORT TITLE:                                                                                                CASE NUMBER
                           Elham Asghari v. Homegoods, Inc.


                                          A                                                         B                                              C Applicable
                                Civil Case Cover Sheet                                       Type of Action                                     Reasons - See Step 3
                                      Category No.                                          (Check only one)                                          Above

                                  Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)               1, 2, 3

                                   Civil Rights (08)         0 A6005 Civil Rights/Discrimination                                                1, 2, 3

                                   Defamation (13)           0 A6010 Defamation (slander/libel)                                                 1, 2, 3
                                                                                                                                                                   _
                                      Fraud (16)             0 A6013 Fraud (no contract)                                                        1, 2, 3
                                                                                                                                                                   _
                                                             El A6017 Legal Malpractice                                                         1, 2, 3
                            Professional Negligence(25)
                                                             0 A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
                                                                                                                                                                   _
                                      Other(35)              0 A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3
                                                                                                                                                                  -
                                                                                                                                                                  -
    "
    e-                        Wrongful Termination (36)      0 A6037 Wrongful Termination                                                       13f3
    a)                                                                                                                                                             _
    E
     >1
    0                                                        El A6024 Other Employment Complaint Case                                           1, 2, 3
    CL                         Other Employment(15)
    E                                                        El A6109 Labor Commissioner Appeals                                                10
    w
                                                                                                                                                                   -
                                                                                                                                                                   -
                                                             El A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                                2, 5
                                                                      eviction)
                             Breach of Contract/ Warranty                                                                                       2, 5
                                        (06)                 0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                                  (not insurance)                                                                                               1, 2, 5
                                                             0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                                1, 2, 5
                                                             El A6028 Other Breach of Contract/Warranty(not fraud or negligence)
                                                                                                                                                                   _
                                                             0 A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                   Collections(09)
                                                             0 A6012 Other Promissory Note/Collections Case                                     5, 11
                                                             0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                  5, 6, 11
                                                                     Purchased on or after January 1, 2014)                                                        _
                               Insurance Coverage (18)       0 A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8
                                                                                                                                                                   _
                                                             0 A6009 Contractual Fraud                                                          1, 2, 3, 5
                                 Other Contract(37)          0 A6031 Tortious Interference                                                      1, 2, 3, 5
                                                             0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8,9
                                                                                                                                                                   __
                               Eminent Domain/Inverse
                                                             El A7300 Eminent Domain/Condemnation              Number of parcels                2, 6
                                 Condemnation (14)
                                                                                                                                                                   _
                                Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                     2, 6
                                                                                                                                                                   _
                                                             El A6018 Mortgage Foreclosure                                                      2, 6
                               Other Real Property(26)       0 A6032 Quiet Title                                                                2, 6
                                                             0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6
                                                                                                                                                                   __
                            Unlawful Detainer-Commercial
                                                         0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                   6, 11
                                        (31)
     Unlawful Detainer




                                                                                                                                                                   _
                             Unlawful Detainer-Residential
                                                             0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                         (32)                                                                                                                      _
                                  Unlawful Detainer-
                                                             0 A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                                Post-Foreclosure(34)                                                                                                               _
                             Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                             CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                AND STATEMENT OF LOCATION                                                       Page 2 of 4
 For Mandatory Use
                                               Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 25 of 59 Page ID #:41
SHORT TITLE                                      Elham Asghari v. Honnegoods, Inc.                                                CASE NUMBER




                                                                A                                                        B                                 C Applicable
                                                     Civil Case Cover Sheet                                        Type of Action                       Reasons - See Step 3
                                                           Category No.                                           (Check only one)                            Above

                                                       Asset Forfeiture (05)       0 A6108 Asset Forfeiture Case                                        2, 3, 6

                                                    Petition re Arbitration (11)   0 A6115 Petition to Compel/Confirm/Vacate Arbitration                2, 5
            Judicial Review




                                                                                   0 A6151 Writ - Administrative Mandamus                               2, 8
                                                       Writ of Mandate (02)        0 A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                                   0 A6153 Writ - Other Limited Court Case Review                       2

                                                    Other Judicial Review (39)     0 A6150 Other Writ /Judicial Review                                  2,8
                                                                                                                                                                               11
                                                  Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                    1, 2,8
            Provisionally Complex Litigation




                                                     Construction Defect(10)       0 A6007 Construction Defect                                          1, 2, 3

                                                    Claims Involving Mass Tort
                                                                                   0 A6006 Claims Involving Mass Tort                                   1, 2,8
                                                              (40)

                                                     Securities Litigation (28)    0 A6035 Securities Litigation Case                                   1, 2,8

                                                            Toxic Tort
                                                                                   0 A6036 Toxic Tort/Environmental                                     1, 2, 3,8
                                                        Environmental (30)

                                                   I nsurance Coverage Claims
                                                                                   0 A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5,8
                                                      from Complex Case (41)
                                                                                                                                                                               11
                                                                                   0 A6141 Sister State Judgment                                        2,5, 11
                                                                                   0 A6160 Abstract of Judgment                                         2,6
   Enforcement




                                                           Enforcement             0 A6107 Confession of Judgment(non-domestic relations)               2, 9
                                                         of Judgment(20)           0 A6140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                                                   0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
                                                                                   0 A6112 Other Enforcement of Judgment Case                           2, 8,9
                                                                                                                                                                               11
                                                            RICO (27)              0 A6033 Racketeering (RICO)Case                                      1, 2,8
   Civil Complaints
    Miscellaneous




                                                                                   0 A6030 Declaratory Relief Only                                      1, 2,8

                                                       Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                                   (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2,8
                                                                                   0 A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2,8
                                                                                                                                                                               11
                                                     Partnership Corporation
                                                                                   0 A6113 Partnership and Corporate Governance Case                    2, 8
                                                        Governance (21)

                                                                                   0 A6121 Civil Harassment With Damages                                2, 3, 9
   Miscellaneous
   Civil Petitions




                                                                                   0 A6123 Workplace Harassment With Damages                            2, 3, 9
                                                                                   0 A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3,9
                                                       Other Petitions(Not
                                                      Specified Above)(43)         0 A6190 Election Contest                                             2
                                                                                   I=1 A6110 Petition for Change of Name/Change of Gender               2, 7
                                                                                   0 A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                                                   0 A6100 Other Civil Petition                                         2, 9




                                                                                   CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                                      AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandatory Use
           Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 26 of 59 Page ID #:42
 SHORT TITLE                                                                          CASE NUMBER
               Elham Asghari v. Homegoods, Inc.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                  ADDRESS

   REASON:                                                                                 5530 Reseda Blvd.

       1.,2.23.L14.05._6.            7. 1E8.. 9.010.011.



   CITY:                                   STATE:    ZIP CODE


   Tarzana                                CA        91356

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                           District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: March 6, 2022                                                            sy6,Ed.             4. 5'
                                                                                  (   NATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                         CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                            AND STATEMENT OF LOCATION                                                    Page 4 of 4
  For Mandatory Use
       Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 27 of 59 Page ID #:43
                                                                                                Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                     FILED
 Stanley Mosk Courthouse                                                                       Superior Court of California
 1 11 North Hill Street, Los Angeles, CA 90012                                                  Countyof LosAngeles
                                                                                                     03/21/2022
                   NOTICE OF CASE ASSIGNMENT                                          Shan R Caw.Execurve OS= / Oath,of Cour

                                                                                         By.             N.Alvarez                pep*
                         UNLIMITED CIVIL CASE

                                                                                CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV09763


                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                  ASSIGNED JUDGE                      DEPT          ROOM
   V     Teresa A. Beaudet                  50




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 03/21/2022                                                        By N. Alvarez                                        , Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
       Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 28 of 59 Page ID #:44
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days offiling and proofof service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days ofthe filing date and a proof of service filed within 60 days ofthe filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 29 of 59 Page ID #:45
                                                                                                  2019-GEN-014-00

                                                                                     FILED
                                                                              Superior Court of Califbrnia
 1                                                                               County of Los Angeles

2                                                                                   MAY 03 2019
                                                                          Sherri Carter,Ex utive Officer/Clerk
3
                                                                           Ily                      ,Deputy
4                                                                                   alinda Mina

5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                    FOR THE COUNTY OF LOS ANGELES
7

8     IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
      — MANDATORY ELECTRONIC FILING )
9     FOR CIVIL                       )
                                      )
10                                    )
                                      )
11

12           On December 3, 2018,the Los Angeles County Superior Court mandated electronic filing of all

13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17    following:

18    1) DEFINITIONS

19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20           quickly locate and navigate to a designated point of interest within a document.

21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

23       c) "Electronic Envelope" A transaction through the electronic service provider for submission

24           of documents to the Court for processing which may contain one or more PDF documents

25           attached.

26       d) "Electronic Filing" Electronic Filing (eFiling)is the electronic transmission to a Court of a

27           document in electronic form.(California Rules of Court, rule 2.250(b)(7).)

28

                                                          I
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.

3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

5       0 "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

9           process attached to or logically associated with an electronic record and executed or adopted

10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document,regardless of the application
15          platform used.

16    2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must

20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                        2
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1         d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5    3) EXEMPT LITIGANTS

6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

7             from mandatory electronic filing requirements.

8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits

18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20             v)    Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26    paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27    /I
28    I/

                                                           3
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS

5        a) Electronic documents must be electronically filed in PDF,text searchable format when

6           technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be boolcmarked.
8        c) Electronic documents,including but not limited to, declarations, proofs of service, and

9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10           3.1110(0(4). Electronic bookmarks must include links to the first page of each boolcmarked

11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be boolcmarked. Examples include, but are not

14           limited to, the following:
15           i)    Depositions;
16           ii)   Declarations;
17           iii) Exhibits (including exhibits to declarations);

18           iv)   Transcripts (including excerpts within transcripts);
19           v)    Points and Authorities;
20           vi)   Citations; and

21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23           encouraged.

24       0 Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                         4
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1       h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8       j) Redaction
9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information(such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13    7) ELECTRONIC FILING SCHEDULE

14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)

20          ii) Notwithstanding any other provision of this order,if a digital document is not filed in due
21              course because of: (1) an interruption in service;(2)a transmission error that is not the
22              fault of the transmitter; or(3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.

26    8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before the ex parte hearing.

                                                             5
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

3           application must be provided to the court the day of the ex parte hearing.
4     ) PRINTED COURTESY COPIES

5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission)is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;

14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at

21           www.lacourt.org on the Civil webpage under "Courtroom Information."
22 I 0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25           1010.6(d)(2).)

26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28           electronically filed in any authorized action or proceeding.

                                                        6
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                2019-GEN-014-00




      ) SIGNATURES ON ELECTRONIC FILING

2          For purposes of this General Order, all electronic filings must be in compliance with California

3          Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

4          Division of the Los Angeles County Superior Court.

5

6             This First Amended General Order supersedes any previous order related to electronic filing,

7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

8     Supervising Judge and/or Presiding Judge.
                                                                                                  .c."


9
                                                                      -
10    DATED: May 3, 2019
                                                            KEVIN C. BRAZ1LE
11
                                                            Presiding Judge
12

13

14

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       -                                                  7
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California       voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                                   may enter into one, two, or all three of the stipulations;
                                   however, they may not alter the stipulations as written,
 LACBA
 LOS ANGELES                       because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                    These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                   between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section             manner that promotes economic case resolution and judicial
                                   efficiency.
   I  —            •r

                                      The    following   organizations endorse       the   goal of
Consumer Attorneys
Association of Los Angeles         promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   *Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel

                                            •Los Angeles County Bar Association

0
,4%1011,
                                                 Labor and Employment Law Section•
                tl
Association of
Business Trial Lawyers                *Consumer Attorneys Association of Los Angeles*


                                            *Southern California Defense Counsel*


                                            *Association of Business Trial Lawyers*
      alMTIMG   rvinovrr IVO/4TV

California Employment
Lawyers Association
                                        *California Employment Lawyers Association*


    LACIV 230(NEW)
    LASC Approved 4-11
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     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 37 of 59 Page ID #:53



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:

           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1      The parties commit to conduct an initial conference (in-person or via teleconference or via
             videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
             whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

                  I nitial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                  employment case, the employment records, personnel file and documents relating to the
                  conduct in question could be considered "core." In a personal injury case, an incident or
                  police report, medical records, and repair or maintenance records could be considered
                  "core.");

             c. Exchange of names and contact information of witnesses;

                  Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                  indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
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Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 38 of 59 Page ID #:54
SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               cornplaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourtorq under "Civil' and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.om under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


LACIV 229(Rev 02/15)
LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
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     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 39 of 59 Page ID #:55

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                    Page 1 of 3
Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 40 of 59 Page ID #:56
SHORT TITLE:                                                                   CASE NUMBER'




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         I nformal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a "specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 41 of 59 Page ID #:57
SHORT TITLE'                                                    CASE NUMBER




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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For Optional Use                                                                         Page 3 of 3
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 42 of 59 Page ID #:58



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                     CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                (Insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LAO IV 094(new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 43 of 59 Page ID #:59



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER'

              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                    Page 1 of 2
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SHORT TITLE:                                                 CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                              JUDICIAL OFFICER




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LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
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                                                                     LOS ANGELES SUPERIOR
                                                                                            COURT

 3                                                                           MAY 1 1 2011
 4                                                                      JOHN A CLARKE,
                                                                                       LERK
                                                                               (Wail
 5                                                                    BY NA CY
                                                                               AVARRO, DEPUTY

 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES
 9
       General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
10
       Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11     Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                 )    TO EARLY ORGANIZATIONAL
12                                               )    MEETING STIPULATION
13
                                                 )

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;
19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
       promote communications and procedures among counsel and with the court to fairly
27
       resolve issues in their cases,"
28

                                                   -1-

                                 ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 46 of 59 Page ID #:62




              Whereas the Early Organizational Meeting Stipulation is intended to encourage
 1

 2     cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencies;
4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
       will promote economic case resolution and judicial efficiency;
 6

 7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

 8     Early Organizational Meeting and potentially to reduce the need for motions to
 9     challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
       Organizational Meeting before the time to respond to a complaint or cross complaint
11
       has expired;
12

13            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14     which an action is pending to extend for not more than 30 days the time to respond to
15
       a pleading "upon good cause shown";
16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
       days the time to respond to a complaint or to a cross complaint in any action in which
18

19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       case resolution that the Early Organizational Meeting Stipulation is intended to
22
       promote.
23
              IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25     into an Early Organizational Meeting Stipulation, the time for a defending party to

26     respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                  -2-

                                  ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 47 of 59 Page ID #:63




       by Code of Civil Procedure section 1054(a) without further need of a specific court
 1

 2     order.

 3

4
       DATED:tP                 ()0/1
 5                                              Carolyn B. KuhljSupervising Judge of the
                                                Civil Departments, Los Angeles Superior Court
6

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                                ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 48 of 59 Page ID #:64

                   Superior Court of California, County of Los Angeles



                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                               I NFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR

   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 04/21
   For Mandatory Use
                                                                                                                  Page 1 of 2
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                                 How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                    • ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.coni
                      (949)863-9800
                    • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                    • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                      (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf


               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about(ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/progranis-adr.htni

      4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.!a court.orgiclivision/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.orgiclivision/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                            EXHIBIT B
              Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 51 of 59 Page ID #:67


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          1       SEYFARTH SHAW LLP
                  Jonathan L. Brophy (SBN 245223)
          2       jbrophy@seyfarth.com
                  Catherine S. Feldman (SBN 299060)
          3       cfeldman@seyfarth.com
                  2029 Century Park East, Suite 3500
          4       Los Angeles, California 90067-3021
                  Telephone:     (310) 277-7200
          5       Facsimile:     (310) 201-5219

          6       Attorneys for Defendant
                  HOMEGOODS, INC.
          7

          8

          9                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
        10                                                                COUNTY OF LOS ANGELES
        11

        12        ELHAM ASGHARI, an Individual,                                                         Case No. 22STCV09763

        13                                    Plaintiff,                                                [Honorable Teresa A. Beaudet; Dept. 50]
        14                   v.                                                                         DEFENDANT HOMEGOODS, INC.’S
                                                                                                        ANSWER TO PLAINTIFF’S UNVERIFIED
        15        HOMEGOODS INC., a California Corporation;                                             COMPLAINT
                  and DOES 1 through 25, Inclusive,
        16
                                              Defendants.                                               Complaint Filed: March 21, 2022
        17                                                                                              Trial Date:      None Set
        18

        19
        20

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                                                         DEFENDANT'S ANSWER TO PLAINTIFF’S COMPLAINT
                  85252571v.1
     Case 2:22-cv-05660-RGK-AS Document 1-1 Filed 08/10/22 Page 52 of 59 Page ID #:68



 1              Defendant Homegoods, Inc. (“Defendant”), for itself and for no other defendant, answers the

 2     unverified Complaint filed by Plaintiff Elham Asghari (“Plaintiff”) as follows:

 3                                                GENERAL DENIAL

 4              Pursuant to California Code of Civil Procedure section 431.30(d), Defendant denies generally

 5     each allegation and each purported cause of action in the Complaint, and without limiting the generality

 6     of the foregoing, denies that Plaintiff has been damaged in any amount, or at all, by reason of any acts or

 7     omissions of Defendant.

 8                                                      DEFENSES

 9              In further answer to the Complaint, and as separate and distinct affirmative and other defenses,
10     Defendant alleges as follows, without assuming the burden of proof on any defense on which it would

11     not otherwise have the burden of proof by operation of law:

12                                                  FIRST DEFENSE

13                            (Failure To State A Cause Of Action - All Causes Of Action)

14              1.     Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action against

15     Defendant.

16                                                SECOND DEFENSE

17                                   (Statute Of Limitations - All Causes Of Action)

18              2.     Plaintiff’s claims, in whole or in part, are barred by the applicable statute of limitations,

19     including, but not limited to, Code of Civil Procedure Sections 335.1, 338, 339, and 340; and
20     Government Code Sections 12940, 12960, and 12965.

21                                                  THIRD DEFENSE

22                       (Failure To Exhaust Administrative Remedies - All Causes Of Action)

23              3.     Plaintiff’s claims, in whole or in part, are barred because Plaintiff has failed to exhaust

24     her administrative remedies or to comply with the statutory prerequisites for bringing suit.

25                                                FOURTH DEFENSE

26                                           (Laches - All Causes Of Action)

27              4.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches because

28     Plaintiff delayed unreasonably in bringing her claims.
                                                             2
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 1                                                 FIFTH DEFENSE

 2                                           (Waiver - All Causes Of Action)

 3              5.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

 4                                                 SIXTH DEFENSE

 5                                          (Estoppel - All Causes Of Action)

 6              6.    Because of Plaintiff’s own acts or omissions, Plaintiff is barred by the equitable doctrine

 7     of estoppel from maintaining this action or pursuing any cause of action alleged in the Complaint against

 8     Defendant.

 9                                               SEVENTH DEFENSE
10                                      (Unclean Hands - All Causes Of Action)

11              7.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

12                                                EIGHTH DEFENSE

13                                        (Ratification - All Causes Of Action)

14              8.    Plaintiff’s Complaint and each cause of action alleged therein, is barred on the ground

15     that Plaintiff ratified Defendant’s alleged actions.

16                                                 NINTH DEFENSE

17                                   (No Causal Connection - All Causes Of Action)

18              9.    Plaintiff’s claims are barred, in whole or in part, including Plaintiff’s claim for violation

19     of public policy, because Plaintiff has not alleged and cannot establish any causal connection between
20     any legally protected activity and any alleged subsequent adverse employment action. Additionally,

21     Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred in whole or in part,

22     because any of Defendant’s purported conduct was not committed because of Plaintiff’s age, disability,

23     or any other purported activities or characteristics.

24                                                 TENTH DEFENSE

25                               (Failure To Mitigate Damages - All Causes Of Action)

26              10.   Defendant alleges, based on information and belief, that Plaintiff had the ability and

27     opportunity to mitigate the purported damages alleged in the Complaint and failed to act reasonably to

28     mitigate such damages. To the extent that Plaintiff suffered any damages as a result of the facts alleged
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 1     in her Complaint, which Defendant denies, Plaintiff is not entitled to recover the amount of damages

 2     alleged or any damages due to her failure to make reasonable efforts to mitigate or minimize the

 3     damages incurred. By reason of the foregoing, Plaintiff is barred in whole or in part from recovery of

 4     damages from Defendant.

 5                                             ELEVENTH DEFENSE

 6           (Failure To Exercise Reasonable Preventive Corrective Opportunities - All Causes Of Action)

 7              11.   To the extent any of Defendant’s employees or agents engaged in unlawful

 8     discriminatory, retaliatory, or harassing behavior toward Plaintiff, Defendant is not liable for any such

 9     discrimination, retaliation, or harassment or Plaintiff’s damages must be reduced, because Defendant
10     exercised reasonable care to prevent and correct promptly any such behavior, and Plaintiff unreasonably

11     failed to take advantage of any preventative or corrective opportunities provided or to otherwise avoid

12     harm.

13                                              TWELFTH DEFENSE

14                           (Workers’ Compensation Preemption - All Causes Of Action)

15              12.   Plaintiff’s claims for certain damages are preempted and barred by the exclusive

16     remedies of the California Workers’ Compensation Act, California Labor Code § 3200, et seq.,

17     inasmuch as they involve an employer/employee relationship subject to workers’ compensation

18     coverage, conduct of Plaintiff undertaken in the course and scope of her alleged employment with

19     Defendant, and injuries alleged by Plaintiff to have been proximately caused by her employment with
20     Defendant.

21                                            THIRTEENTH DEFENSE

22                                (After-Acquired Evidence - All Causes Of Action)

23              13.   Plaintiff’s claims are barred, or her damages, if any, are limited, to the extent she engaged

24     in any misconduct of which Defendant was unaware until after Plaintiff’s separation from employment

25     that provides independent legal cause for the changes in her employment.

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 1                                            FOURTEENTH DEFENSE

 2                                  (Prompt Remedial Action - All Causes Of Action)

 3              14.   Defendant took prompt and appropriate corrective action in response to Plaintiff’s

 4     complaints or stated concerns regarding the workplace, if any, thereby satisfying all legal duties and

 5     obligations Defendant had to Plaintiff, if any at all.

 6                                              FIFTEENTH DEFENSE

 7                           (Legitimate Non-Discriminatory Actions - All Causes of Action)

 8              15.   Plaintiff’s claims are barred, in whole or in part, because Defendant had a legitimate

 9     business reason that was non-discriminatory and non-retaliatory for all actions taken with respect to
10     Plaintiff’s employment.

11                                              SIXTEENTH DEFENSE

12                                       (Mixed Motive - All Causes Of Action)

13              16.   Even if Plaintiff should prove that her alleged disability, age, or any other protected status

14     was a substantial factor motivating the challenged employment actions, which Defendant denies; the

15     same actions would have been taken based on legitimate, non-discriminatory, non-retaliatory

16     considerations.

17                                            SEVENTEENTH DEFENSE

18                       (Award Of Punitive Damages Is Unconstitutional - All Causes Of Action)

19              17.   To the extent that Plaintiff seeks punitive or exemplary damages in her Complaint, she
20     violates the rights of Defendant to protection from “excessive fines” as provided in the Eighth

21     Amendment to the United States Constitution and in Article I, Section 17 of the Constitution of the State

22     of California and the rights of Defendant to procedural and substantive due process under the Fifth and

23     Fourteenth Amendments to the United States Constitution and under the Constitution of the State of

24     California.

25                                             EIGHTEENTH DEFENSE

26                                  (Setoff And Recoupment - All Causes Of Action)

27              18.   To the extent a court holds that Plaintiff is entitled to damages or penalties, which is

28     specifically denied, Defendant is entitled under the equitable doctrine of setoff and recoupment to offset
                                                            5
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 1     all overpayments and/or all obligations that Plaintiff owed to Defendant against any judgment that may

 2     be entered against Defendant.

 3                                              NINETEENTH DEFENSE

 4                                            (Offset - All Causes Of Action)

 5              19.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

 6     is barred in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received

 7     from any source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set

 8     forth by Witt v. Jackson, 57 Cal. 2d 57 (1961), and its progeny.

 9                                              TWENTIETH DEFENSE
10                                     (Managerial Privilege - All Causes Of Action)

11              20.     Any injuries Plaintiff sustained as a result of any action by Defendant is barred to the

12     extent that any and all decisions made and actions taken were in the exercise of proper managerial

13     discretion and in good faith.

14                                            TWENTY-FIRST DEFENSE

15                                   (Adequate Legal Remedy - All Causes Of Action)

16              21.     Plaintiff’s request for injunctive relief is improper because Plaintiff has an adequate

17     remedy at law.

18                                           TWENTY-SECOND DEFENSE

19                         (Failure To State A Claim For Relief Sought - All Causes Of Action)
20              22.     Plaintiff’s Complaint fails to properly state a claim for injunctive, equitable, declaratory,

21     or other relief sought.

22                                            TWENTY-THIRD DEFENSE

23                                  (Avoidable Consequences - All Causes Of Action)

24              23.     Plaintiff’s claims are barred, in whole or in part, on the grounds that Defendant, at all

25     relevant times, exercised reasonable care to prevent and immediately correct any harassing,

26     discriminatory, or retaliatory behavior, and to the extent Plaintiff unreasonably failed to take advantage

27     of any preventive or corrective opportunities provided by Defendant or to avoid harm otherwise.

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 1                                           TWENTY-FOURTH DEFENSE

 2                    (No Pretext For Unlawful Discrimination Or Retaliation - All Causes Of Action)

 3              24.     Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred to the

 4     extent that Plaintiff alleges unlawful discrimination and retaliation and has failed to show that

 5     Defendant’s actions were a pretext for unlawful discrimination or retaliation or to mask an unlawful

 6     motive.

 7                                             TWENTY-FIFTH DEFENSE

 8                                    (No Intentional Conduct - All Causes Of Action)

 9              25.     Plaintiff’s Complaint, and each purported cause of action alleged therein, fails to allege
10     any facts showing any intentional conduct on the part of Defendant, and therefore, fails to support any

11     claim for discrimination, harassment, retaliation, and/or intentional infliction of emotional distress.

12                                           TWENTY-SIXTH DEFENSE
                                         (Undue Hardship - All Causes Of Action)
13

14              26.     To the extent that Plaintiff requested accommodations that were not reasonable or would
15     cause Defendant undue hardship, and thus were not required, Plaintiff’s claims fail.
16                                          TWENTY-SEVENTH DEFENSE
17                         (Failure To Engage In An Interactive Process - All Causes Of Action)
18              27.     Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff failed to
19     participate in good faith, or at all, in an interactive process with Defendant regarding her purported need
20     for a reasonable accommodation for her alleged disability.
21                                            RESERVATION OF RIGHTS
22              Defendants do not presently know all of the facts and circumstances respecting Plaintiff’s claims.
23     Defendants have not knowingly or intentionally waived any applicable defenses and reserve the right to
24     assert and rely on such other applicable defenses as may later become available or apparent. Defendants
25     further reserve the right to amend their answer or defenses accordingly and/or to delete defenses that they
26     determine are not applicable during the course of discovery.
27                                                        PRAYER
28              WHEREFORE, Defendant prays for judgment as follows:
                                                              7
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 1              1.   That Plaintiff take nothing by her Complaint;

 2              2.   That judgment be entered in favor of Defendant and against Plaintiff on all causes of action;

 3              3.   That Defendant be awarded reasonable attorneys’ fees according to proof;

 4              4.   That Defendant be awarded their costs of suit incurred herein; and

 5              5.   That Defendant be awarded such other and further relief as the Court may deem appropriate.

 6
       DATED: August 9, 2022                                  Respectfully submitted,
 7
                                                              SEYFARTH SHAW LLP
 8

 9
                                                              By:
10                                                                  Jonathan L. Brophy
                                                                    Catherine S. Feldman
11                                                                  Attorneys for Defendants
                                                                    HOMEGOODS, INC.
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 1                                               PROOF OF SERVICE

 2     STATE OF CALIFORNIA                                )
                                                          )   SS
 3     COUNTY OF LOS ANGELES                              )

 4            I am a resident of the State of California, over the age of eighteen years, and not a party to the
       within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5     90067-3021. On August 9, 2022, I served the within document(s):

 6              DEFENDANT HOMEGOODS, INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED
                                       COMPLAINT
 7
               I sent such document from facsimile machines (310) 201-5219 on August 9, 2022. I certify that
 8      
         said transmission was completed and that all pages were received and that a report was generated
               by said facsimile machine which confirms said transmission and receipt. I, thereafter, mailed a
 9             copy to the interested party(ies) in this action by placing a true copy thereof enclosed in sealed
               envelope(s) addressed to the parties listed below.
10
               by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
11      
         in the United States mail at Los Angeles, California, addressed as set forth below.

12             by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
        
         below.
13
               by placing the document(s) listed above, together with an unsigned copy of this declaration, in a
14      
         sealed envelope or package provided by an overnight delivery carrier with postage paid on
               account and deposited for collection with the overnight carrier at Los Angeles, California,
15             addressed as set forth below.

16             by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
        
         below.
17

18
                Yolanda A. Slaughter                               Attorneys for Plaintiff ELHAM ASGHARI
19              LAW OFFICE OF YOLANDA A.
                SLAUGHTER                                          Tel: (310) 968-4592
20              633 W. 5th Street, 26th Floor                      E-mail: yslaughterlaw@aol.com
                Los Angeles, CA 90071
21

22             I am readily familiar with the firm's practice of collection and processing correspondence for
       mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
23     postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
       served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
24     after date of deposit for mailing in affidavit.

25            I declare under penalty of perjury under the laws of the State of California that the above is true
       and correct.
26
                Executed on August 9, 2022, at Los Angeles, California.
27

28                                                                      Maria Torres-Masferrer


                                                 PROOF OF SERVICE
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